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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA



 United States of America, et al.,
                                 Plaintiffs,           Case No. 1:20-cv-03010 (APM)
 v.
 Google LLC,
                                 Defendant.



 State of Colorado, et al.,
                                 Plaintiffs,            Case No. 1:20-cv-03715 (APM)

 v.
 Google LLC,
                                 Defendant.


  NON-PARTY DUCK DUCK GO, INC.’s MOTION FOR LEAVE TO FILE UNDER
SEAL ITS POSITION STATEMENT ON CONFIDENTALITY OF POTENTIAL TRIAL
              EXHIBITS AND THE UNDERLYING DOCUMENTS

       Non-party Duck Duck Go, Inc. (“DuckDuckGo”), by and through counsel, hereby moves

this Court for leave to file under seal its Position Statement on Confidentiality of Potential Trial

Exhibits (the “Position Statement”) (Exhibit A) and the potential exhibits referenced in the

Position Statement (Exhibits A-1 through A-9), all of which have been designated by

DuckDuckGo as Confidential or Highly Confidential under this Court’s Modified Protective

Order (ECF No. 98).

       This Circuit considers six factors in determining whether judicial documents should be

disclosed to the public:

       (1) the need for public access to the documents at issue; (2) the extent of previous public
       access to the documents; (3) the fact that someone has objected to disclosure, and the

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       identity of that person; (4) the strength of any property and privacy interests asserted;
       (5) the possibility of prejudice to those opposing disclosure; and (6) the purposes for
       which the documents were introduced during the judicial proceedings.

Metlife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017) (internal

citations omitted). All factors weigh in favor of sealing the Position Statement and the exhibits.

DuckDuckGo has an interest in sealing the Position Statement and the exhibits because

confidentiality is the very subject of the filing, and the exhibits are the very documents

containing competitively sensitive information at the heart of the dispute. For reasons stated in

the Position Statement, disclosing the underlying documents to the public would cause

DuckDuckGo and potentially other third-parties competitive harm. Conversely, the need for

public access to the Position Statement is low, because to the extent the public has any interest in

access to the underlying documents, the filing is merely an explanation of why the underlying

documents are confidential. For the reasons stated in the Position Statement, the need for public

access to the underlying documents is outweighed by DuckDuckGo’s need to keep its

competitively sensitive communications private and the harm that may result if this information

is made public. A proposed order is attached as Exhibit B.

       WHEREFORE, DuckDuckGo hereby respectfully moves this Court for leave to file

under seal its Position Statement, attached hereto as Exhibit A, and the underlying documents,

attached hereto as Exhibits A-1 through A-9.




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Dated: August 9, 2023                     Respectfully submitted,
Washington, DC


                                          /s/ Ronald F. Wick                         .
                                          COHEN & GRESSER LLP

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                                          Counsel for non-party Duck Duck Go, Inc.
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                               CERTIFICATE OF SERVICE

I hereby certify that on August 9, 2023, the foregoing Motion for Leave to File Under Seal Duck
Duck Go, Inc.’s Position Statement on Confidentiality of Potential Trial Exhibits and the
Underlying Documents and the exhibits were electronically filed under seal using the CM/ECF
system, and I am causing to be transmitted copies to counsel of record for Plaintiffs and
Defendant Google LLC.


                                             /s/ Ronald F. Wick                        .
